 Case: 1:17-md-02804-DAP Doc #: 1887-1 Filed: 07/19/19 1 of 11. PageID #: 66460




                                  UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF OHIO
                                           EASTERN DIVISION



 IN RE NATIONAL PRESCRIPTION                             MDL 2804
 OPIATE LITIGATION                                       Case No. 17-md-2804
 This document relates to:                               Hon. Dan Aaron Polster
 Track One Cases


 MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION FOR PARTIAL
  SUMMARY ADJUDICATION OF DEFENDANTS’ DUTIES UNDER THE
              CONTROLLED SUBSTANCES ACT
                                            INTRODUCTION
         There presently exists a dispute amongst the parties on whether the federal Controlled

Substances Act (“CSA”), 21 U.S.C. §§ 801 et seq. and its implementing regulations, 21 C.F.R. 1301 et

seq., mandate that registrants halt, and not ship, suspicious orders of prescription opioids unless and

until they have determined that diversion is not likely. Plaintiffs have asserted several claims for which

the Defendants’ compliance with the CSA is relevant, including claims under the federal Racketeer-

Influenced and Corrupt Organizations (“RICO”) Act, Ohio’s parallel RICO statute, and Ohio’s

absolute public nuisance law. While it is clear that Manufacturer and Distributor Defendants are

subject to regulation under the CSA, the legal dispute over the scope of those requirements must be

resolved before the Court can determine factually whether any of the Defendants are in compliance.

Resolution of this legal issue will also substantially advance resolution of the claims asserted by litigants

from across the country in both federal and state courts. Through this motion, Plaintiffs seek summary

adjudication of this legal question, which will streamline and focus the presentation of evidence at

trial.




                                                     1
Case: 1:17-md-02804-DAP Doc #: 1887-1 Filed: 07/19/19 2 of 11. PageID #: 66461




        The CSA requires registrants to maintain “effective controls against diversion.” 21 U.S.C.

§ 823(a)(1), (b)(1). Pursuant to regulations adopted by the federal Drug Enforcement Administration

(“DEA”), the agency charged with administration of the CSA, the maintenance of such controls

requires registrants to design and operate a system for identifying and reporting suspicious orders. See

21 C.F.R. § 1301.71(a). The dispute at issue on this motion concerns the further duty to refrain from

shipping suspicious orders until the registrant can determine, through investigation, that the order is

not likely to be diverted. As described below, the DEA has construed the CSA to impose this

requirement because a registrant’s controls against diversion will not be effective if suspicious orders

are merely identified and reported, but are nonetheless shipped before it can be determined that they

are unlikely to be diverted. See Masters Pharmaceutical, Inc. v. Drug Enforcement Administration, 861 F.3d

206, 212-213 (D.C. Cir. 2017); Southwood Pharmaceuticals, Inc.; Revocation of Registration, 72 FR 36487-01,

36500, 2007 WL 1886484 (DEA July 3, 2007). Congress has recently ratified this construction. See

Public Law 115-271, § 3272. Special Master Cohen has recognized this interpretation. In re National

Prescription Opiate Litigation, MDL2804, Discovery Ruling No. 12 [Doc. 1174] (December 9, 2018).

Because the DEA’s construction as ratified by Congress is correct, this Court should rule as a matter

of law that registrants are required to identify, report, and stop suspicious orders, pending

investigation.
                                          LEGAL STANDARD
        Rule 56 provides that “[t]he court shall grant summary judgment if the movant shows that

there is no genuine dispute as to any material fact and the movant is entitled to judgment as a matter

of law.” Fed. R. Civ. P. 56(a). Rule 56 permits a party to move for summary judgment on a claim or

defense or on a “part of [a] claim or defense.” Fed. R. Civ. P. 56(a). The rule thus “make[s] clear at

the beginning that summary judgment may be requested not only as to an entire case but also as to a

claim, defense, or part of a claim or defense.” Fed. R. Civ. P. 56, Advisory Committee Notes,

subdivision (a) (2010). “Statutory interpretation is a matter of law appropriate for resolution on

                                                    2
 Case: 1:17-md-02804-DAP Doc #: 1887-1 Filed: 07/19/19 3 of 11. PageID #: 66462




summary judgment.” Thomas v. Metro. Life Ins. Co., 631 F.3d 1153, 1160 (10th Cir. 2011); see also Walsh

v. United States, 31 F.3d 696, 698 (8th Cir. 1994)(where an unresolved issue is “primarily legal rather

than factual, summary judgment is particularly appropriate.”); Brown v. Smith, 827 F.3d 609, 613 (7th

Cir. 2016) (a “question of law” suitable for summary adjudication “typically concerns the meaning of

a statutory or constitutional provision, regulation, or common law doctrine”).
                                 ARGUMENT
        THE CSA DUTY TO “MAINTAIN EFFECTIVE CONTROLS AGAINST
        DIVERSION” REQUIRES DEFENDANTS TO IDENTIFY AND REPORT
        SUSPICIOUS ORDERS AND TO HALT SHIPMENTS OF SUCH ORDERS PENDING
        INVESTIGATION
        The CSA sets forth as a primary factor in the grant of a registration to manufacture or

distribute controlled substances the “maintenance of effective controls against diversion . . . into other

than legitimate . . . channels . . . .“ 21 U.S.C.A. § 823(a)(1), (b)(1). This duty has remained substantially

unchanged since the enactment of the CSA in 1970. This duty is further codified by the DEA at 21

C.F.R. § 1301.71(a), which provides that “[a]ll applicants and registrants shall provide effective

controls and procedures to guard against theft and diversion of controlled substances.” This

requirement has remained substantially unchanged since its adoption by the DEA in 1971. 36 Fed.

Reg. 4928 (1971); 36 Fed. Reg. 7776 (1971).

        The duty to maintain effective controls against diversion is not merely a technical requirement.

The regulatory scheme established by the CSA does not rely on the DEA to police shipments of

controlled substances in the first instance, but rather enlists registrants and requires them to assume

that task, in exchange for the privilege of dealing in the drugs. See Southwood Pharmaceutical, 72 FR

36487-01, 36504, 2007 WL 1886484 (the DEA cannot all by itself “protect the American people from

[the] extraordinary threat to public health and safety” posed by prescription narcotics; it “must rely on

registrants to fulfill their obligation under the Act to ensure that they do not supply controlled

substances to entities which act as pushers.”). Moreover, the legislative history of the CSA shows that


                                                     3
    Case: 1:17-md-02804-DAP Doc #: 1887-1 Filed: 07/19/19 4 of 11. PageID #: 66463




one of the fundamental purposes of the statute is to protect society from the dangers that controlled

substances pose to the safety of communities. H.R. Rep. 91-1444, 4574, 4601-2 (1970). As the DEA

noted in revoking the registration of a distributor in Southwood Pharmaceuticals, “[r]espondent's

distribution of 44 million dosage units of hydrocodone which were likely diverted caused extraordinary

harm to the public health and safety.” 72 FR 36487-01, 36503, 2007 WL 1886484. Indeed, the DEA

characterized the recipients of the suspicious orders as “drug pushers operating under the patina of

legitimate authority” and found that “[c]utting off the supply sources of these pushers is of critical

importance in protecting the American people from this extraordinary threat to public health and

safety.” Id. at 36504.

         The DEA has construed the CSA to require registrants to design and operate a system to

identify suspicious orders of controlled substances (the “identification duty”); to report to the DEA

suspicious orders when discovered (the “reporting duty”); and to decline to ship an order identified

as suspicious unless and until, through due diligence, the registrant is able to determine that the order

is not likely to be diverted into illegal channels (the “no-shipping duty”). Masters Pharmaceutical, Inc. v.

Drug Enforcement Administration, 861 F.3d 206, 212-213 (D.C. Cir. 2017);1 see also Southwood

Pharmaceuticals, Inc.; Revocation of Registration, 72 FR 36487-01, 36500, 2007 WL 1886484 (DEA July 3,

2007). The first two of these duties, the identification and reporting requirements, are explicitly set

forth at 21 C.F.R. § 1301.74, which provides that a registrant “shall design and operate a system to

disclose to the registrant suspicious orders of controlled substances” and that the registrant “shall

inform the Field Division Office of the Administration in his area of suspicious orders when discovered

by the registrant.” (Emphasis added.) The regulation defines suspicious orders to include “orders of

unusual size, orders deviating substantially from a normal pattern, and orders of unusual frequency.”


1 In Masters Pharmaceutical, the court described this as a “shipping duty.” Because the duty as described by the
Masters Pharmaceutical court and by the DEA clearly requires registrants to refrain from shipping, Plaintiffs here
refer to it as the “no-shipping duty” in the interest of clarity,

                                                        4
    Case: 1:17-md-02804-DAP Doc #: 1887-1 Filed: 07/19/19 5 of 11. PageID #: 66464




Id. Defendants do not, in general, dispute that they are subject to the identification and reporting

duties.

          Although at least some of the Defendants dispute the DEA’s authority to do so, the DEA has

long recognized that the CSA imposes a no-shipping duty – that is, a duty to not to ship suspicious

orders until they have been cleared through investigation. See Masters Pharmaceutical, 861 F.3d at 212-

13 (“Once a distributor has reported a suspicious order, it must make one of two choices: decline to

ship the order, or conduct some ‘due diligence’ and—if it is able to determine that the order is not

likely to be diverted into illegal channels—ship the order.”); Southwood Pharmaceuticals, FR 36487-01,

36500, 2007 WL 1886484; see also Exhibit A, DEA Rule 30(b)(6) Depo. (Prevoznik), Vol. 2, p. 771

(April 18, 2019) (“Q.: Does the DEA take the position that a registrant of controlled substances has

a duty to block shipments of suspicious orders? A: Yes.”).2 As explained by the DEA in Southwood

Pharmaceuticals, the no-shipping duty follows directly from the statutory requirement that a registrant

maintain effective controls against diversion. In Southwood Pharmaceuticals, the DEA revoked the

registration of a distributor based primarily on the failure to maintain such controls. The DEA found

that not only had Southwood failed to report suspicious orders, but also that it had failed to perform

proper due diligence with respect to its customers, and that it had continued to ship to certain

customers, even though the orders it shipped met the criteria to be considered “suspicious.” 72 FR

36487-01, 36498-99. Indeed, the DEA found it “especially appalling” that, in light of the information

available to it indicating that certain pharmacies to which it was shipping hydrocodone were engaging

in diversion, Southwood “did not immediately stop distributing hydrocodone to any of the

pharmacies.” Id. at 36500. The DEA noted “the threat to public safety posed by the diversion of

controlled substances” and revoked Southwood’s license, effective immediately, finding that

“continued registration constituted an imminent danger to public health and safety.” Id. at 26504.

2 The DEA produced Thomas Prevosnik as a Rule 30(b)(6) witness in these proceedings. Mr. Prevosnik’s
testimony thus represents the official position of the DEA.

                                                  5
Case: 1:17-md-02804-DAP Doc #: 1887-1 Filed: 07/19/19 6 of 11. PageID #: 66465




Thus, Southwood’s violation of the no-shipping requirement was one of the primary reasons its

registration was revoked.

        If the Defendants were ever in any doubt about the requirement that they stop shipment of

suspicious orders, the DEA unequivocally removed that doubt in letters it sent to opioid distributors

in 2006 and 2007. In a September 26, 2006 letter, the DEA reminded distributors that in addition to

an obligation to report suspicious orders, they had a “statutory responsibility to exercise due diligence

to avoid filling suspicious orders that might be diverted into other than legitimate medical, scientific,

and industrial channels.” See Exhibit B (emphasis added). (Notably, this letter was sent approximately

ten months before the administrative decision revoking Southwood Pharmaceuticals’s registration.)

In December, 2007, the DEA once again reminded distributors that
        their responsibility does not end merely with the filing of a suspicious order report.
        Registrants must conduct an independent analysis of suspicious orders prior to completing
        a sale to determine whether the controlled substances are likely to be diverted from
        legitimate channels.”
See Exhibit C (emphasis added). The letter concluded with the warning that “registrants that routinely

report suspicious orders, yet fill these orders without first determining that order is not being diverted

into other than legitimate medical, scientific, and industrial channels, may be failing to maintain

effective controls against diversion.” Id.

        As the DEA letters make clear, and as explained in Southwood Pharmaceutical, the no-shipping

duty is nothing more than an implementation of the basic duty to “maintain effective controls against

diversion.” See FR 36487-01, 36498-502, 2007 WL 1886484. Put another way, there can be no

“effective controls against diversion” if a registrant is permitted to ship opioid orders it knows or

should know bear the indicia of likely diversion. Thus, the no-shipping duty is not a later addition to

the CSA or the regulations, but part and parcel of the original enactment. It is an “interpretive rule,”

which, rather than creating new duties, “simply states what the administrative agency thinks the statute

means, and only reminds affected parties of existing duties. . . .” Tennessee Hosp. Ass'n v. Azar, 908 F.3d


                                                    6
 Case: 1:17-md-02804-DAP Doc #: 1887-1 Filed: 07/19/19 7 of 11. PageID #: 66466




1029, 1042 (6th Cir. 2018). Indeed, the Southwood Pharmaceutical proceedings confirm this is so: if the

duty had not already existed, Southwood would not have lost its registration for failing to comply with

it.

        DEA’s construction is plainly correct that effective control against diversion cannot be

maintained if suspicious orders are shipped without investigation. Suspicious orders are, by definition,

orders that that bear some indicia of diversion activity, including unusual size, unusual patterns, and/or

unusual frequency. 21 C.F.R. § 1301.74(b). They are orders that raise sufficient concerns about

diversion that they must be reported to the DEA. Id.; see also Exhibit C (“The regulation also requires

that the registrant inform the local DEA Division Office of suspicious orders when discovered by the

registrant.”) (emphasis in original). It is therefore reasonable to conclude that shipping suspicious

orders without further investigation will not be an effective means to prevent diversion. Indeed, the

construction recognizes that the registrants are partners with the DEA in the prevention of diversion,

and that reliance on the DEA alone to prevent diversion using the information reported to it will not

be a system of effective controls. See Southwood Pharmaceutical, 72 FR 36487-01, 36504, 2007 WL

1886484.

        That this construction of the CSA is correct was recently confirmed by Congress. On October

24, 2018, Congress enacted Public Law 115-271, the Substance Use-Disorder Prevention that

Promotes Opioid Recovery and Treatment for Patients and Communities Act (the “SUPPORT Act”).

Among other provisions, the SUPPORT Act amended 21 U.S.C. § 827 so as to provide manufacturers

and distributors with access to data from the Automated Reports and Consolidated Orders System

(“ARCOS”). See 21 U.S.C. § 827(f). As the SUPPORT Act explains, “The purpose of this chapter is

to provide drug manufacturers and distributors with access to anonymized information through the

Automated Reports and Consolidated Orders System to help drug manufacturers and distributors

identify, report, and stop suspicious orders of opioids and reduce diversion rates.” PL 115-271, § 3272



                                                    7
 Case: 1:17-md-02804-DAP Doc #: 1887-1 Filed: 07/19/19 8 of 11. PageID #: 66467




(emphasis added). But the SUPPORT Act goes even further – the statute also provides a “Rule of

Construction” explaining that “Nothing in this chapter should be construed to absolve a drug

manufacturer, drug distributor, or other Drug Enforcement Administration registrant from the

responsibility of the manufacturer, distributor, or other registrant to— (1) identify, stop, and report

suspicious orders; or (2) maintain effective controls against diversion. . . .” Id. (emphasis added).

         Congress thus made crystal clear that the purpose of this particular provision of the SUPPORT

Act is to give registrants additional tools – in the form of ARCOS data – to carry out their CSA duties,

including the duty to stop shipments, and that the provision of these tools (or any previous lack of access to

them) does not in any way absolve registrants of their statutory and regulatory duties, including the

existing duty to stop suspicious orders.

         In so doing, it is clear that Congress was aware of the DEA’s construction of “effective

controls against diversion” and intended to ratify it. “Subsequent legislation declaring the intent of an

earlier statute is entitled to great weight in statutory construction.” Red Lion Broadcasting Co. v. FCC,

395 U.S. 367, 380–81, (1969); accord Salmi v. Sec'y of Health & Human Servs., 774 F.2d 685, 689–90 (6th

Cir. 1985); In re Buren, 725 F.2d 1080, 1087 (6th Cir. 1984). It is also significant that, in ratifying the

DEA’s construction of the CSA, Congress did not amend the CSA to impose more explicitly the no-

shipping requirement. This court can reasonably infer that Congress did not expressly impose this

duty because it understood that the duty already existed under the CSA, and that it was necessary only

to make clear how the provisions of the SUPPORT Act might affect that duty. See Heckler v. Turner,

470 U.S. 184, 211 (1985) (clarification in subsequent legislation of existing statute not only “leaves no

doubt as to the prospective interpretation of the statute, but it carries in addition considerable

retrospective weight”).

         DEA’s construction of the CSA and the regulations would, even without the confirmatory

legislation, be entitled to substantial deference. See Chevron, U.S.A., Inc. v. Nat. Res. Def. Council, Inc.,



                                                      8
 Case: 1:17-md-02804-DAP Doc #: 1887-1 Filed: 07/19/19 9 of 11. PageID #: 66468




467 U.S. 837, 843-44 (1984) ("considerable weight should be accorded to an executive department's

construction of a statutory scheme it is entrusted to administer"); Alliance for Community Media v. F.C.C.,

529 F.3d 763, 776 (6th Cir. 2008); Pension Ben. Guar. Corp. v. Bendix Comm. Veh. Sys's, LLC, No. 1:11

CV 1961, 2012 WL 629928, at *6 (N.D. Ohio Feb. 24, 2012). Congress left it to the DEA to determine

what constitutes “effective control against diversion” and DEA has made a reasonable determination

of what is required. Moreover, as the Sixth Circuit has explained, in assessing an agency construction,

the court “need not conclude that the agency construction was the only one it permissibly could have

adopted to uphold the construction, or even the reading [it] would have reached. . . .” Alliance for

Community Media, 529 F.3d at 778. Rather, it is sufficient that the interpretation is a reasonable one.

Id.; see also Hernandez, 914 F.3d at 433 (“the question for the court is whether the agency’s answer is

based on a permissible construction of the statute”). Indeed, a court “may not disturb an agency rule

unless it is arbitrary or capricious in substance, or manifestly contrary to the statute.” Zurich Am. Ins.

Grp. v. Duncan on behalf of Duncan, 889 F.3d 293, 302 (6th Cir. 2018); see also Turfah v. United States

Citizenship & Immigration Servs., 845 F.3d 668, 673 (6th Cir. 2017) (court “must defer” to agency

interpretation if it is reasonable).

         Congress’s 2018 recognition of the no-shipping requirement adds even greater force to the

deference that would usually be accorded to an agency interpretation, and leaves no room for doubt

that, in order to carry out the statutory mandate to “maintain effective controls against diversion,” a

registrant may not ship suspicious orders that have not been cleared through investigation. It must,

instead, block those orders until it can determine that diversion is unlikely.
                                             CONCLUSION
        For the foregoing reasons, this Court should rule that the CSAS imposes an obligation to

maintain effective controls against diversion, and that in order to meet this obligation, registrants must

design and operate a system to identify suspicious orders; must report suspicious order to the DEA

when they are discovered; and must stop shipment of suspicious orders pending investigation.

                                                    9
Case: 1:17-md-02804-DAP Doc #: 1887-1 Filed: 07/19/19 10 of 11. PageID #: 66469




Dated: June 25, 2019                Respectfully submitted,


                                    /s/Paul J. Hanly, Jr.
                                    Paul J. Hanly, Jr.
                                    SIMMONS HANLY CONROY
                                    112 Madison Avenue, 7th Floor
                                    New York, NY 10016
                                    (212) 784-6400
                                    (212) 213-5949 (fax)
                                    phanly@simmonsfirm.com

                                    Joseph F. Rice
                                    MOTLEY RICE
                                    28 Bridgeside Blvd.
                                    Mt. Pleasant, SC 29464
                                    (843) 216-9000
                                    (843) 216-9290 (Fax)
                                    jrice@motleyrice.com

                                    Paul T. Farrell, Jr., Esq.
                                    GREENE KETCHUM, LLP
                                    419 Eleventh Street
                                    Huntington, WV 25701
                                    (304) 525-9115
                                    (800) 479-0053
                                    (304) 529-3284 (Fax)
                                    paul@greeneketchum.com

                                    Plaintiffs’ Co-Lead Counsel

                                    Peter H. Weinberger (0022076)
                                    SPANGENBERG SHIBLEY & LIBER
                                    1001 Lakeside Avenue East, Suite 1700
                                    Cleveland, OH 44114
                                    (216) 696-3232
                                    (216) 696-3924 (Fax)
                                    pweinberger@spanglaw.com

                                    Plaintiffs’ Liaison Counsel

                                    Hunter J. Shkolnik

                                       10
Case: 1:17-md-02804-DAP Doc #: 1887-1 Filed: 07/19/19 11 of 11. PageID #: 66470




                                    NAPOLI SHKOLNIK
                                    360 Lexington Ave., 11th Floor
                                    New York, NY 10017
                                    (212) 397-1000
                                    (646) 843-7603 (Fax)
                                    hunter@napolilaw.com

                                    Counsel for Plaintiff Cuyahoga County, Ohio

                                    Linda Singer
                                    MOTLEY RICE LLC
                                    401 9th St. NW, Suite 1001
                                    Washington, DC 20004
                                    (202) 386-9626 x5626
                                    (202) 386-9622 (Fax)
                                    lsinger@motleyrice.com

                                    Counsel for Plaintiff Summit County, Ohio




                                      11
